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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,


                                                   Criminal Case No. 07-20411
                                                   HON. GEORGE CARAM STEEH

vs.


ERNEST HAYES,
__________________________________/

            ORDER DENYING MOTION FOR REDUCTION OF SENTENCE

       On October 14, 2008, defendant Ernest Hayes pleaded guilty by way of a Rule 11

plea agreement to maintaining a drug establishment in violation of 21 U.S.C. § 856(a)(1).

On April 30, 2009, defendant was sentenced to 120 months imprisonment.              Presently

before the court is defendant’s motion for a reduction in sentence pursuant to 18 U.S.C. §

3582(c)(2) and request for appointment of counsel.

       This court previously appointed counsel to determine defendant’s eligibility for earlier

release pursuant to the crack guideline retroactivity amendment. See Dkt. No. 169. On

August 25, 2010, appointed counsel filed a notice regarding defendant’s eligibility for

sentence reduction under 18 U.S.C. § 3582(c)(2). See Dkt. No. 205. Counsel advised the

court that defendant is ineligible for a sentence reduction based on his review of defendant’s

presentence investigation report, the judgment, and United States v. Pembrook, 609 F. 3d

381 (6th Cir. 2010).

       Accordingly,


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      Defendant’s motion for reduction in sentence [#224] is DENIED.

      SO ORDERED.




Dated: March 28, 2012
                                          S/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE



                                 CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                 March 28, 2012, by electronic and/or ordinary mail and also to
                 Ernest Hayes at FCI Allenwood, P.O. Box 2000, Whitedeer PA
                                         17887-2000.
                                     S/Josephine Chaffee
                                         Deputy Clerk




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